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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner) BY:_piw/ SCANNED By 2) ay

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UNITED STATES DISTRICT COURT
for the

Vek _distict of Mich A Al

Cc /V/ L Division

Case No.

L p ron Pret, (to be filled in by the Clerk's Office)
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

Jury Trial: (check one) Dyes [_]No

1:23-cv-875
Hala Y. Jarbou
Chief, U.S. District Judge

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should of contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name fait agen Pdi
Address go77 mer CELC AVE
Cown€llby lg PA /GY2S |
City State Zip Code
County F AYE ttre
Telephone Number G3) ~624~ 307!
E-Mail Address pavl bpagwER © $1 Of a Aaa €or

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |!

Name (2 oLacf. O (ite
Job or Title (if known) Fh 462d és fnod LF AAA eee she ae

Address Jb 00 Pawn Vent VORA a aut, NM uw
UWstinglo Oc Qesc0.

Cit? State Zip Code

County

Telephone Number pROPR— tf sSé-/I L{
E-Mail Address (if known)

[J individual capacity PSoricia capacity

Defendant No. 2
Name
Job or Title (if mown)
Address

City State Zip Code
County
Telephone Number
E-Mail Address (if known)

[J Individual capacity [ ] Official capacity

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

Defendant No. 3
Name
Job or Title (if known)
Address

City State Zip Code

County
Telephone Number
E-Mail Address (if known)

[| Individual capacity [| Official capacity

Defendant No. 4
Name
Job or Title (if known)
Address

City State Zip Code

County
Telephone Number
E-Mail Address (if known)

[_] Individual capacity [~ ] Official capacity

Il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A, Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)

rl State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

+
Cc, Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you

are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Dz. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Ill. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?
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B. What date and approximate time did the events giving rise to your claim(s) occur?
Cc. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?) Ss p 2 V is Jers °

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not receive. Lrgubly
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Vv. Relief
State briefly what you want the court to do for you, Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: ¥-/7 — pO

Signature of Plaintiff fort [dre H~e5

Printed Name of Plaintiff

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney .

Bar Number

Name of Law Firm

Address

City State Zip Code

Telephone Number
E-mail Address

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